                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )   CASE NO. 3:13-00125
                                                   )   JUDGE SHARP
MAX P. ANDOLSEK                                    )
ARVALON MICHELLE HARLESTON                         )
AARON L. OSBORNE                                   )

                                             ORDER

        This case is set for jury trial on September 24, 2013, at 9:00 a.m. in Courtroom A-826,

United States Courthouse, 801 Broadway, Nashville, Tennessee.

        Any plea agreement shall be consummated by noon on Thursday before the trial, and the

courtroom deputy notified thereof. Any proposed plea agreement shall be submitted to the Court by

noon on the Friday before the trial. No plea agreement will be entertained unless it is in compliance

with this Order.

        In advance of any plea hearing, the United States Attorney shall submit to chambers

a document that lists the elements of each offense to which the defendant is pleading guilty and

the statutory penalty for each, including period of incarceration, fine, and period of supervised

release applicable.

        If the case is to be tried, the parties shall file the following by the close of business on the

Tuesday before the trial:

        1.     An agreed set of case specific jury instructions, with citations to supporting
               authorities. Certain standard, non-case specific, jury instructions generally used by
               the Court are currently available on the Court’s website:
               http://www.tnmd.uscourts.gov/judge_sharp.

        2.     Alternative versions of jury instructions on which there is not an agreement, with
               citations to supporting authorities.



     Case 3:13-cr-00125       Document 17         Filed 07/24/13      Page 1 of 2 PageID #: 52
        3.     An agreed verdict form or alternative versions.

        4.     Motions in limine.

        Responses to motions in limine shall be filed by 4:00 p.m. on the Friday before trial. Parties

shall deliver to chambers a computer disc containing all proposed instructions and verdict forms that

are filed.

        The requirements set forth herein shall also apply to any continuances of this trial.

        Any motion to continue the trial or plea dates shall be filed no later than one week before the

trial date. Any motion to continue the trial shall attach a Speedy Trial Waiver signed by the

Defendant or an explanation of why the Waiver is not attached.

        Counsel for the parties shall comply timely with the discovery and motion provisions of

LCrR 12.01 and 16.01.

        The Defendant shall attend all Court proceedings in this case. If the Defendant is in custody,

the Government shall take all necessary actions to secure the timely presence of the Defendant at

all Court proceedings. Counsel for the Defendant shall make sure that street clothes are available

timely for the Defendant at trial.

        It is so ORDERED.




                                               KEVIN H. SHARP
                                               UNITED STATES DISTRICT JUDGE




   Case 3:13-cr-00125         Document 17        Filed 07/24/13       Page 2 of 2 PageID #: 53
